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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNDER ARMOUR, INC.                                       )
  1020 Hull Street                                       )
  Baltimore, Maryland 21230,                             )    Civil Action No.
                                                         )
                       Plaintiff,                        )    JURY TRIAL
                                                         )    DEMANDED
                v.                                       )
                                                         )
ARMORINA INC.                                            )
  99 Wall Street #908                                    )
  New York, New York 10005,                              )
                                                         )
                       Defendant.                        )
                                                         )

                                          COMPLAINT

       Plaintiff Under Armour, Inc. alleges as follows, upon actual knowledge with respect to

itself and its own acts, and upon information and belief as to all other matters:

                                    NATURE OF THIS ACTION

       1.       This is a civil action for trademark infringement, trademark dilution, unfair

competition, and cybersquatting under the Lanham Act, 15 U.S.C. § 1051, et seq. and/or

Maryland statutory and common law. Under Armour seeks equitable and monetary relief from

Defendant’s willful violations of Under Armour’s trademark rights in its famous UNDER

ARMOUR mark, ARMOUR mark, and other ARMOUR-formative marks (the “ARMOUR

Marks”).

       2.       Defendant has been offering for sale, selling, and promoting fitness and

activewear apparel and accessories for women under the ARMORINA name/mark—which

misappropriates a core of Under Armour’s branding and combines it with the feminine suffix

INA—in violation of Under Armour’s trademark rights. As a result of Defendant’s use of
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ARMORINA in connection with its products, activities, and promotions, consumers are likely to

confuse them with Under Armour.

                                             PARTIES

       3.       Plaintiff Under Armour is a Maryland corporation with a principal place of

business at 1020 Hull Street, Baltimore, Maryland 21230.

       4.       Defendant Armorina is a New York corporation with an address at 99 Wall Street

#908, New York, New York 10005.

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b). Because Under Armour is a citizen of

the State of Maryland, Defendant is a citizen of the State of New York, and the matter in

controversy exceeds $75,000 exclusive of interests and costs, the Court also has jurisdiction

under 28 U.S.C. § 1332. The Court has supplemental jurisdiction over Under Armour’s state-

law claims pursuant to 28 U.S.C. § 1367(a) because they are substantially related to its federal

claims and arise out of the same case or controversy.

       6.       This Court has general and/or specific personal jurisdiction over Defendant

because Defendant purposefully availed itself of the privilege of conducting business in

Maryland. Defendant offers, markets, and promotes its products bearing the ARMORINA mark

through its website and other means to consumers located in Maryland and elsewhere and uses

that mark to promote and advertise its products in Maryland and elsewhere.

       7.       Venue lies in this District pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events giving rise to Under Armour’s claims have occurred and are




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continuing to occur in this District, and Under Armour’s trademarks at issue are located in this

District, where Under Armour maintains its principal place of business.

        UNDER ARMOUR, ITS PRODUCTS, AND ITS ARMOUR TRADEMARKS

        8.       Under Armour is one of the world’s most successful, popular, and well-known

providers of apparel, footwear, sporting goods, and accessories. Through Under Armour’s

innovative use of advanced engineering and technology, it has revolutionized the performance-

product industry. In 2018 alone, Under Armour sold over $5 billion worth of products.

        9.       Since at least as early as 1996, Under Armour has continuously used and

promoted (through itself, its predecessor in interest, and its licensees) the UNDER ARMOUR

name/mark for apparel.

        10.      Over the years, Under Armour has expanded to a wide range of other products

and services, including a full line of men’s and women’s athletic clothing, footwear, headwear,

and accessories; workwear; tactical wear; bags; and sports equipment. The distinctive UNDER

ARMOUR name/mark has been used and promoted across Under Armour’s extensive product

line.

        11.      In addition to its UNDER ARMOUR name/mark, Under Armour has used and

promoted the ARMOUR mark alone and numerous other ARMOUR-formative marks in

connection with its wide range of products and services including, for example, GAMEDAY

ARMOUR, BABY ARMOUR, OFFSHORE ARMOUR, SUN ARMOUR, ARMOUR

STRETCH, ARMOUR GRABTACK, ARMOUR FLEECE, ARMOUR SELECT, ARMOR

ELITE, ARMOUR ACCESS, ARMOURBLOCK, ARMOURSTORM, ARMOURLOFT,

ARMOURGRIP, ARMOURSIGHT, ARMOURSTEALTH, ARMOURBOX, and MY

ARMOUR, among others. These ARMOUR-formative marks have been used and promoted



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individually and/or together, and consumers have come to associate the ARMOUR portion of the

marks with UNDER ARMOUR.

       12.    Among its numerous products, Under Armour has for years offered a variety of

apparel and accessories for women under its ARMOUR Marks, e.g.:




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                        UNDER ARMOUR’S SALES AND
                PROMOTION OF ITS ARMOUR-BRANDED PRODUCTS

       13.    Under Armour has sold billions of dollars worth of products under the UNDER

ARMOUR and ARMOUR Marks. Under Armour’s products are promoted, offered, and sold

nationwide in connection with the ARMOUR Marks through a wide variety of retail means,

including thousands of retail stores. These retail stores include Under Armour’s own Factory


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and Brand House retail stores, as well as national, regional, independent, and specialty retailers

such as Foot Locker, Finish Line, Dick’s Sporting Goods, Kohl’s, Macy’s, Dunham’s, Modell’s,

Hibbett Sports, Nordstrom, Academy Sports & Outdoors, Bass Pro Shops, Cabela’s, and The

Army and Air Force Exchange Service.

        14.     Under Armour’s products are also offered, sold, and promoted through its own

websites, catalogs, and toll-free call center and the websites and mail order catalogs of many of

its retailers, including the websites used by Bloomingdales.com, Cabela’s, Bass Pro Shops, City

Sports, Dick’s Sporting Goods, Eastbay, Eastern Mountain Sports, Finish Line, Foot Locker,

Gilt Groupe, Hibbett, Kohl’s, LL Bean, Lord & Taylor, Macys.com, MC Sports, Modell’s,

Nordstrom, Sportsman’s Guide, and Sportsman’s Warehouse.

        15.     For years, Under Armour has spent tens of millions of dollars annually

advertising and promoting its ARMOUR Marks and products to the general public. Under

Armour has widely and extensively promoted its ARMOUR Marks and products through

virtually every available type of media, including print publications, signage, television, and the

Internet.

        16.     Under Armour also promotes and showcases its ARMOUR Marks and products

on its own and authorized websites and social media sites, including www.underarmour.com,

www.facebook.com/underarmour, www.twitter.com/underarmour, and

www.instagram.com/underarmour, among others.

        17.     Under Armour has run extensive, nationwide advertising campaigns that reinforce

the ARMOUR Marks as a potent shorthand for Under Armour and its vast product offerings—

for example the THIS IS YOUR ARMOUR, EARN YOUR ARMOUR, ARMOUR UP, and

YOUR ARMOUR JUST GOT LIGHTER campaigns:



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       18.     With respect to publications and signage, Under Armour has advertised and

promoted its ARMOUR Marks and products in a wide variety of nationally circulated magazines

and newspapers.

       19.     Further, the ARMOUR Marks have been featured on billboards and other signage

in various cities, including Baltimore, Philadelphia, and New York City’s Times Square.

       20.     Under Armour has advertised and promoted its ARMOUR Marks and products

through television commercials, including a television commercial during the Super Bowl,

product placement in popular movies, national television programs, video games, and coverage

of sporting events featuring its branded products, among other means.

       21.     Sponsorships, outfitting agreements, individual athlete agreements, and

partnerships with famous celebrities represent another significant form of advertising and

promotion by Under Armour. Under Armour’s ARMOUR Marks are promoted through high-

profile athletes and teams at the youth, collegiate, professional, and Olympic levels including, for

example, the most decorated Olympian of all time Michael Phelps; World Champion ski racer

Lindsey Vonn; ballerina Misty Copeland; NBA basketball stars Steph Curry (Golden State

Warriors) and Joel Embiid (Philadelphia 76ers); MLB baseball stars Bryce Harper (Philadelphia

Phillies) and Clayton Kershaw (Los Angeles Dodgers); supermodel Gisele Bündchen; NFL

football stars Tom Brady (New England Patriots), Cam Newton (Carolina Panthers), and Patrick

Peterson (Arizona Cardinals); famous celebrity Dwayne “The Rock” Johnson; college sports

teams Auburn, Notre Dame, Boston College, University of Maryland, Northwestern University,

Navy, and South Carolina; and high school sports teams around the country.




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       22.     Since 2006, Under Armour has been an authorized supplier of footwear to the

NFL and is currently also the official performance footwear supplier to the MLB and authorized

supplier of gloves to the NFL.

       23.     In addition to its own substantial advertising and promotional activities, Under

Armour and its ARMOUR Marks and products have received and continue to receive

widespread unsolicited media coverage. Indeed, many of the athletes, teams, and sporting events

sponsored by Under Armour appear on nationally broadcast television programs and in widely

circulated publications, exposing tens of millions of consumers to the ARMOUR Marks.

       24.     Under Armour has received numerous awards for its commercial success in

connection with the development of its innovative and technologically enhanced products and its

marketing and branding achievements. In 2014, Under Armour received the prestigious

“Marketer of the Year” Award from Advertising Age magazine. That same year, Yahoo Finance

named Under Armour the 2014 “Company of the Year.” In 2015 and 2016, Under Armour

ranked #4 (with a brand value of $5 billion in 2015 and $5.5 billion in 2016) on the Forbes list of

“The World’s Most Valuable Sports Brands.” In 2016, Under Armour also received the

preeminent marketing industry award for the best “Ad of the Year” from AdWeek for its “Rule

Yourself” campaign featuring 28-time Olympic medalist Michael Phelps.

       25.     As a result of its distinctive nature, and thus inherent strength; widespread

advertising, publicity, promotion, and sales; and longstanding and extensive use and recognition,

the UNDER ARMOUR mark has been well known and famous for years.

       26.     In Under Armour, Inc. v. Bode, Opp. No. 91178653 (TTAB May 21, 2009), the

Trademark Trial and Appeal Board of the United States Patent and Trademark Office (PTO)

expressly acknowledged the fame of the UNDER ARMOUR mark.



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                  UNDER ARMOUR’S TRADEMARK REGISTRATIONS
                           FOR ITS ARMOUR MARKS

       27.     Under Armour owns, among others, the following valid and subsisting U.S.

federal trademark registrations for its UNDER ARMOUR marks (true and correct copies of

those registrations are attached as Exhibit A):

                            Reg. No.
          Mark                                              Goods/Services
                            Reg. Date
  UNDER ARMOUR             2279668        Clothing, namely, t-shirts, long sleeve shirts, mock
                           09-21-1999     turtle necks, hats, shorts, shirts, leggings, jersey’s, pants,
                                          headwear for winter and summer, under wear, tank tops
                                          (male and female), winter caps, sweat shirts/pull overs,
                                          women’s bra in Class 25
                           2917039        Wristbands, headbands, rain suits, jackets, socks, skirts,
  UNDER ARMOUR
                           01-11-2005     athletic sleeves, hoods, skull wraps, skull caps, vests,
                                          hats, shorts, shirts, leggings, pants, headwear for winter
                                          and summer, underwear, tank tops, bras, girdles in
                                          Class 25
  UNDER ARMOUR             3178549        Athletic footwear in Class 25
                           11-28-2006
  UNDER ARMOUR             3642614        Full line of athletic clothing in Class 25
                           06-23-2009

  UNDER ARMOUR             3712052        Ankle socks; athletic uniforms; baseball caps; baseball
                           11-17-2009     shoes; baseball uniforms; baselayer bottoms; baselayer
                                          tops; beach footwear; boxer briefs; boxer shorts; briefs;
                                          capri pants; children’s headwear; coats; dresses; fleece
                                          pullovers; football shoes; footwear; foul weather gear;
                                          golf caps; golf shirts; golf trousers; hooded pullovers;
                                          hunting vests; jogging pants; knit shirts; men’s socks;
                                          mittens; moisture-wicking sports bras; moisture-wicking
                                          sports pants; moisture-wicking sports shirts; polo shirts;
                                          rain jackets; rain trousers; rainproof jackets; rainwear;
                                          running shoes; short-sleeved or long-sleeved t-shirts;
                                          short-sleeved shirts; ski bibs; ski gloves; ski jackets; ski
                                          pants; ski wear; skorts; sleeveless jerseys; snow pants;
                                          snowboard gloves; snowboard mittens; snowboard
                                          pants; soccer boots; sport shirts; sports bras; sports
                                          jerseys; sports pants; sports shirts; sweat bands; sweat
                                          pants; tennis wear; thongs; thongs; training shoes;
                                          undershirts; unitards; visors; waterproof jackets and
                                          pants; wind pants; wind resistant jackets; wind shirts in
                                          Class 25

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                  Reg. No.
    Mark                                       Goods/Services
                  Reg. Date
UNDER ARMOUR     4225998      Baseball shoes; Basketball sneakers; Beachwear; Bib
                 10-16-2012   overalls for hunting; Camouflage gloves; Camouflage
                              jackets; Camouflage pants; Camouflage shirts;
                              Camouflage vests; Cleats for attachment to sports shoes;
                              Fishing shirts; Football shoes; Golf shorts; Hunting
                              jackets; Hunting pants; Hunting shirts; Sneakers;
                              Swimwear; Volleyball jerseys; Yoga pants; Yoga shirts
                              in Class 25
UNDER ARMOUR     3700135      Clothing for athletic use, namely, padded shirts, padded
                 10-20-2009   pants, padded shorts, padded elbow compression sleeves
                              in Class 25

                              Bags specially adapted for sports equipment; golf
                              gloves; batting gloves; football gloves; lacrosse gloves;
                              mouth guards for athletic use; cases for holding athletic
                              mouth guards; athletic equipment, namely, guards for
                              the lips; chin pads for athletic use; knee pads for athletic
                              use; elbow pads for athletic use; forearm pads for
                              athletic use; shin guards for athletic use; football girdles;
                              jock straps in Class 28
UNDER ARMOUR     3722377      Football towels; golf towels; towels in Class 24
                 12-08-2009
UNDER ARMOUR     3500322      Eyewear, namely, sunglasses, lenses for sunglasses,
                 09-09-2008   and visors for use with helmets in Class 9
UNDER ARMOUR     4135826      Eyewear; goggles for sports in Class 9
                 05-01-2012
UNDER ARMOUR     3901624      Backpacks specially adapted for holding laptop
                 01-04-2011   computers in Class 9
UNDER ARMOUR     3375771      Retail store services featuring apparel and sporting
                 01-29-2008   goods in Class 35

UNDER ARMOUR     3638277      Online retail store services featuring apparel, footwear,
                 06-16-2009   sporting goods, eyewear, headwear, wrist bands, sweat
                              bands, belts, gloves, hand-warmers, plastic water
                              bottles sold empty, sports bags, tote bags, travel bags,
                              backpacks, messenger bags, duffel bags, wheeled bags,
                              sling bags, umbrellas, towels in Class 35
                 2509632      Clothing namely; shirts, hats, pants, t-shirts, underwear,
                 11-20-2001   brassiere and shorts in Class 25




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                            Reg. No.
          Mark                                               Goods/Services
                            Reg. Date
                           2954369          Wristbands, headbands, rain suits, jackets, socks, skirts,
                           05-24-2005       athletic sleeves, hoods, skull wraps, skull caps, vests,
                                            hats, shorts, shirts, leggings, pants, headwear for winter
                                            and summer, underwear, tank tops, bras, girdles in
                                            Class 25

       28.     Under Armour also owns, among others, the following valid and subsisting U.S.

trademark registrations for the ARMOUR mark per se and other ARMOUR-formative marks,

including for clothing, footwear, accessories, and other products (true and correct copies of those

registrations are attached as Exhibit B):

                            Reg. No.
       Mark                                                    Goods/Services
                           Reg. Date
ARMOUR                   3392904            Clothing, excluding golf clothing, namely, shorts, shirts,
                         03-04-2008         pants, and gloves in Class 25
ARMOUR                   3970978            Footwear, excluding golf footwear in Class 25
                         05-31-2011
 ARMOUR                  3720012            Clothing, excluding golf clothing, namely, hooded
                         12-01-2009         sweat shirts, crew neck shirts, long sleeve shirts,
                                            pullover shirts in Class 25
 ARMOUR                  4133248            Clothing, excluding golf clothing, namely, headwear,
                         04-24-2012         hats, caps, baseball caps and bras in Class 25
 ARMOUR                  5387620            On-line retail store services featuring apparel, footwear,
                         01-23-2018         headwear, eyewear, and sporting goods; and retail store
                                            services featuring apparel, footwear, headwear,
                                            eyewear, and sporting goods in Class 35
 ARMOUR FLEECE           3510702            Jackets, pants in Class 25
                         10-07-2008
 GAMEDAY                 4094318            Clothing, namely, shirts, t-shirts, short-sleeved shirts,
 ARMOUR                  01-31-2012         shorts; clothing for athletic use, namely, padded shorts;
                                            clothing for athletic use, namely, padded shirts in
                                            Class 25
ARMOURVENT               4642057            Athletic shirts; athletic shorts; baselayer bottoms;
                         11-18-2014         baselayer tops; bottoms; capri pants; capris; caps;
                                            compression garments for athletic or other non-medical
                                            use, namely, shirts, shorts; hats; headwear; jackets;
                                            leggings; long-sleeved shirts; shirts; short-sleeved shirts;
                                            shorts; singlets; sports shirts; t-shirts; tank tops; tank-
                                            tops; tops; track jackets; vests in Class 25



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                            Reg. No.
       Mark                                                  Goods/Services
                           Reg. Date
ARMOUR BRA               4142942          Bras in Class 25
                         05-15-2012
ARMOURSIGHT              3861988          Eyewear; sunglasses; lenses for sunglasses in Class 9
                         10-12-2010
ARMOUR                   3684393          Football gloves in Class 28
GRABTACK                 09-15-2009
ARMOURSTORM              3622968          Jackets in Class 25
                         05-19-2009
                         5317738          On-line retail store services featuring apparel,
 ARMOURBOX
                         10-24-2017       accessories, footwear, headgear, and bags in Class 35

                                          Personal shopping services for others; personal stylist
                                          services, namely, evaluating the apparel styles of others
                                          and recommending clothing and accessories in Class 45

       29.     Under Armour also owns the following valid and subsisting Maryland trademark

registrations for its famous ARMOUR mark, among others products (true and correct copies of

those registrations are attached as Exhibit C):

      Mark                   Reg. No.   Reg. Date                    Products/Services
 ARMOUR                     2012-0227 12/18/12            Clothing, excluding golf clothing in
                                                          Class 39
 ARMOUR                     2012-0228 12/18/12            Knee pads for athletic use and
                                                          protective athletic cups in Class 22

                    DEFENDANT AND ITS WRONGFUL ACTIVITIES

       30.     Without Under Armour’s authorization or approval, Defendant has been offering,

selling, and promoting apparel (including bras and leggings) and accessories under the

ARMORINA name and mark:




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      31.    In or around December 2017, Defendant registered the domain name

armorina.com with the GoDaddy domain name registrar.

      32.    Defendant has been operating a website at https://armorina.com/, where it

promotes and sells apparel and accessories under the ARMORINA name and mark.

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       33.     Like Under Armour, Defendant promotes the ARMORINA mark and products on

the Internet and, specifically, via social media, including Twitter (https://twitter.com/

armorinaactive), Facebook (https://www.facebook.com/armorinaactiveswear/), and Instagram

(https://www.instagram.com/armorinaactivewear/):




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       34.    On May 28, 2018, Defendant filed U.S. Trademark Application Serial No.

87938428 for the mark ARMORINA for “Athletic tights; Bras; Headbands; Leggings; Pants;

Shirts; Shorts; Swimwear; Sports bras” in Class 25 with the PTO.

       35.    Prior to publication of Application Serial No. 87938428, Under Armour objected

to Defendant’s application and use of ARMORINA and insisted that Defendant voluntarily

abandon Application No. 87938428 and stop using ARMORINA. Defendant did not respond to

Under Armour’s request, allowed Application No. 87938428 to publish, and continues to sell

apparel and accessories under the ARMORINA mark.


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       36.     On December 17, 2018, Under Armour filed Opposition No. 91245355 against

Application Serial No. 87938428 with the Trademark Trial and Appeal Board. That proceeding

is currently ongoing.

       37.     On April 1, 2019, Defendant filed two U.S. Trademark Applications with the PTO



for the mark                , one covering “Bikinis; Bodysuits; Bottoms as clothing; Capris; Coats;

Dresses; Gloves; Hats; Headbands; Jackets; Knit tops; Leggings; Long-sleeved shirts; Pants;

Shirts; Shorts; Skirts; Socks; Sports bra; Sweat shirts; Sweaters; Sweatpants; Swimsuits; T-

shirts; Tank tops; Tights; Tops as clothing; Track pants; Underwear; Vests” in Class 25 (App.

No. 88366240) and the other covering “Fitness Training products, namely, resistance bands for

exercise, nylon straps that are affixed to doors for performances of various exercises using body

weight resistance; resistance bands” in Class 28 (App. No. 88366271). Neither application has

published for opposition.

       38.     Fully aware of Under Armour’s rights, Defendant has acted knowingly, willfully,

in reckless disregard of those rights, and in bad faith.

                     INJURY TO UNDER ARMOUR AND THE PUBLIC

       39.     Defendant’s unauthorized use of the ARMORINA name and mark is likely to

cause confusion, mistake, and deception as to the source or origin of Defendant’s products, and

is likely to falsely suggest a sponsorship, connection, or association between Defendant, its

products, and/or its commercial activities with Under Armour.

       40.     Defendant’s unauthorized use of the ARMORINA name and mark is likely to

dilute the distinctiveness and value of Under Armour’s famous UNDER ARMOUR mark.

       41.     Defendant’s trademark application for the ARMORINA mark conflicts with

Under Armour’s prior rights.

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       42.     Defendant’s acts, described above, have damaged and irreparably injured and, if

permitted to continue, will further damage and irreparably injure Under Armour and its

ARMOUR Marks.

       43.     Defendant’s acts, described above, have irreparably injured, and, if permitted to

persist, will continue to irreparably injure the public, who has an interest in being free from

confusion, mistake, and deception.

                                FIRST CLAIM FOR RELIEF
                               Trademark Infringement Under
                     Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       44.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 43 of this Complaint.

       45.     Without Under Armour’s consent, Defendant has used and continues to use in

commerce reproductions, copies, and colorable imitations of Under Armour’s registered

ARMOUR Marks in connection with the offering, distribution, and advertising of goods. These

actions are likely to cause confusion, or to cause mistake, or to deceive, in violation of Section

32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

                            SECOND CLAIM FOR RELIEF
                       Trademark Infringement, False Designation
                     of Origin, Passing Off, and Unfair Competition
          Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       46.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 45 of this Complaint.

       47.     Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the origin, sponsorship, or approval of Defendant, its products,

and/or commercial activities by or with Under Armour. Defendant’s actions thus constitute




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trademark infringement, false designation of origin, passing off, and unfair competition in

violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

                                 THIRD CLAIM FOR RELIEF
                               Trademark Dilution Under Section
                          43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

        48.    Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 47 of this Complaint.

        49.    Under Armour’s UNDER ARMOUR mark is famous, as that term is used in 15

U.S.C. § 1125(c), and was famous before Defendant’s first use of ARMORINA based on, among

other things, the inherent distinctiveness and federal registration of Under Armour’s UNDER

ARMOUR mark and the extensive nationwide use, advertising, promotion, and recognition of

that mark.

        50.    Defendant’s actions, as described above, are likely to dilute the distinctive quality

of Under Armour’s famous UNDER ARMOUR mark by blurring in violation of Section 43(c) of

the Lanham Act, 15 U.S.C. §1125(c), as amended by the Trademark Dilution Revision Act of

2006.

                               FOURTH CLAIM FOR RELIEF
                               Trademark Infringement Under
                               Md. Code Bus. Reg. § 1-414 et seq.

        51.    Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 50 of this Complaint.

        52.    Defendant’s uses, without the consent of Under Armour, of reproductions and/or

colorable imitations of Under Armour’s registered ARMOUR Marks in connection with the sale,

offering for sale, and/or advertising of goods or services, are likely to cause confusion, or to




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deceive as to the origin of the goods or services, and thus constitute trademark infringement in

violation of Md. Code Bus. Reg. § 1-414 et seq.

       53.        Defendant’s reproductions and/or colorable imitations of Under Armour’s

registered ARMOUR Marks, and application of those reproductions and/or colorable imitations

to Defendant’s advertising, labels, prints, receptacles, signs, or wrappers that are intended to be

used with goods or services and/or in conjunction with the sale or other distribution of goods or

services in Maryland, constitute trademark infringement in violation of Md. Code Bus. Reg.

§ 1-414 et seq.

                              FIFTH CLAIM FOR RELIEF
             Trademark Infringement, False Advertising, and Unfair Competition
                             Under Maryland Common Law

       54.        Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 53 of this Complaint.

       55.        Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the affiliation, connection, or association of Defendant with Under

Armour, or as to the origin, sponsorship, or approval of Defendant, its products, and/or its

commercial activities by or with Under Armour such that Defendant’s acts constitute

infringement of Under Armour’s proprietary rights in its ARMOUR Marks, misappropriation of

Under Armour’s goodwill in those marks, and unfair competition under Maryland common law.

       56.        Defendant’s actions, as described above, constitute false and misleading

descriptions and misrepresentations of fact in commerce, which, in commercial advertising and

promotion, materially misrepresent the nature, characteristics, and qualities of Defendant’s

products and constitute false and deceptive advertising under Maryland common law.




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                                 SIXTH CLAIM FOR RELIEF
                                 Cybersquatting Under Section
                          43(d) of the Lanham Act, 15 U.S.C. § 1125(d)

        57.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 56 of this Complaint.

        58.     Defendant caused to be registered, registered, and/or used the armorina.com

domain name with a bad-faith intent to profit from Under Armour’s ARMOUR Marks.

        59.     Under Armour’s ARMOUR Marks were distinctive at the time Defendant caused

to be registered, registered, and/or used the armorina.com domain name.

        60.     Under Armour’s UNDER ARMOUR mark was famous at the time Defendant

caused to be registered, registered, and/or used the armorina.com domain name.

        61.     The armorina.com domain name is confusingly similar to Under Armour’s

ARMOUR Marks.

        62.     The armorina.com domain name is dilutive of Under Armour’s UNDER

ARMOUR mark.

        63.     Defendant’s actions, as described above, violate Section 43(d) of the Lanham Act,

15 U.S.C. § 1125(d).


                                          JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, Under Armour respectfully demands a trial by jury on all

issues properly triable by a jury in this action.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Under Armour respectfully requests that this Court enter judgment in its

favor on each and every claim for relief set forth above and award it relief including, but not

limited to, the following:

       A.      An Order declaring that Defendant’s use of the ARMORINA name and mark

infringes Under Armour’s ARMOUR Marks, dilutes Under Armour’s UNDER ARMOUR mark,

and constitutes unfair competition under federal and/or state law, as detailed above;

       B.      An Order declaring that Defendant’s Application Serial No. 87938428 for the

ARMORINA mark conflicts with Under Armour’s prior rights, as detailed above;

       C.      A permanent injunction enjoining Defendant and its employees, agents, partners,

officers, directors, owners, shareholders, principals, subsidiaries, related companies, affiliates,

distributors, dealers, and all persons in active concert or participation with any of them:

               1.      From using, registering, or seeking to register the ARMORINA mark in

       any form, including in connection with any other wording or designs, and from using any

       other marks, logos, designs, designations, or indicators that are confusingly similar to any

       of Under Armour’s ARMOUR Marks and/or dilutive of Under Armour’s UNDER

       ARMOUR mark;

               2.      From representing by any means whatsoever, directly or indirectly, that

       Defendant, any products or services offered by Defendant, or any activities undertaken by

       Defendant, are associated or connected in any way with Under Armour or sponsored by

       or affiliated with Under Armour in any way;

               3.      From assisting, aiding or abetting any other person or business entity in

       engaging in or performing any of the activities referred to in subparagraphs C(1)-(2);



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       D.      An Order directing Defendant to destroy all products, packaging, signage,

advertisements, promotional materials, stationery, forms, and/or any other materials and things

that contain or bear Defendant’s ARMORINA mark or any other marks, logos, designs,

designations, or indicators that are confusingly similar to any of Under Armour’s ARMOUR

Marks and/or dilutive of Under Armour’s UNDER ARMOUR mark;

       E.      An Order directing Defendant (and the relevant registrar) to transfer to Under

Armour the armorina.com domain name and all other domain names Defendant owns or controls

that contain any of Under Armour’s ARMOUR Marks (including, but not limited to, any domain

names comprised of or containing ARMOUR or ARMOR), any marks confusingly similar to any

of Under Armour’s ARMOUR Marks, and/or any marks dilutive of Under Armour’s UNDER

ARMOUR mark;

       F.      An Order directing the Director of the PTO to refuse Defendant’s Application

Serial Nos. 88366240, 88366271, and 87938428 or, alternatively, directing Defendant to

surrender/abandon these applications with prejudice;

       G.      An Order directing that, within thirty (30) days after the entry of the injunction,

Defendant file with this Court and serve on Under Armour’s attorneys a report in writing and

under oath setting forth in detail the manner and form in which Defendant has complied with the

injunction;

       H.      An Order requiring Defendant to account for and pay to Under Armour any and

all profits arising from the foregoing acts, and increasing such profits, in accordance with 15

U.S.C. § 1117 and other applicable laws including, but not limited to, Md. Code Bus. Reg.

§ 1-414 et seq.;




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       I.       An Order requiring Defendant to pay statutory damages under 15 U.S.C.

§ 1117(d), on election by Under Armour, in an amount of one hundred thousand dollars

($100,000) for the registration and use of the armorina.com domain name;

       J.       An Order requiring Defendant to pay Under Armour damages in an amount as yet

undetermined caused by the foregoing acts and trebling such damages in accordance with 15

U.S.C. § 1117 and other applicable laws including, but not limited to, Md. Code Bus. Reg.

§ 1-414 et seq.;

       K.       An Order requiring Defendant to pay Under Armour all of its litigation expenses,

including reasonable attorneys’ fees and the costs of this action pursuant to 15 U.S.C. § 1117 and

other applicable laws;

       L.       An Order requiring Defendant to pay Under Armour punitive damages for

trademark infringement and unfair competition under Maryland common law; and

       M.       Other relief as the Court may deem appropriate.


Dated: August 21, 2019                Respectfully submitted,

                                       /s/ Douglas A. Rettew
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